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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Florence Francisco
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                 )   Case No.: 2:13-cr-00103-MCE
               Plaintiff,                      )
10                                             )
          v.
                                               )   STIPULATION AND ORDER FOR
11                                             )   CONTINUANCE OF JUDGMENT AND
     Florence Francisco,                       )   SENTENCING
12                                             )
                  Defendant.                   )
13                                             )
                                               )
14
15
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16
     Judgment and Sentencing scheduled for December 17, 2015, at 9:00 a.m. is continued to
17
18   February 11, 2016, at 9:00 a.m. in the same courtroom. Probation has also been

19   informed of the continuance request. Defendant needs additional time to prepare for

20   sentencing and requested a continuance.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ////
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 1   Todd Pickles, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
 2   attorney, agree to this continuance.
 3
 4   IT IS SO STIPULATED.
 5
 6   DATED: November 2, 2015                       By:    /s/ Thomas A. Johnson
                                                          THOMAS A. JOHNSON
 7                                                        Attorney for Florence Francisco

 8
 9
10
     DATED: November 2, 2015                              BENJAMIN B. WAGNER
11                                                        United States Attorney

12                                                  By:   /s/ Thomas A. Johnson for
                                                          TODD PICKLES
13                                                        Assistant United States Attorney
            IT IS SO ORDERED.
14
15
     DATED: November 10, 2015
16
17
18                                          _____________________________________________
                                            MORRISON  N C. ENGLLAND, JR, C
                                                                         CHIEF JUDG  GE
19                                          UNITED ST TATES DISSTRICT COU  URT
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 9                           IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00103-MCE
12             Plaintiff,                           )
          v.                                        )
13                                                  )   MODIFICATION OF SCHEDULE FOR
     FLORENCE FRANCISCO,                            )   PRE-SENTENCE REPORT AND FOR
14                                                  )   FILING OF OBJECTIONS TO THE PRE-
              Defendant.                                SENTENCE REPORT
15                                                  )
                                                    )
16                                                  )
                                                    )
17
18   Judgment and Sentencing date:                             February 11, 2016
19
20   Reply or Statement                                        February 4, 2016
21   Motion for Correction of the Pre-Sentence
22   Report shall be filed with the court and                  January 28, 2016
     served on the Probation Officer and opposing
23   counsel no later than:
24   The Pre-Sentence Report shall be filed with
25   the court and disclosed to counsel no later               January 21, 2016      __
     than:
26
     Counsel’s written objections to the Pre-
27
     Sentence Report shall be delivered to the                 January 7, 2016
28   Probation Officer and opposing counsel
     no later than:

                                                                                           3
